     Case 1:20-cv-03127-SAB     ECF No. 48      filed 09/01/20      PageID.312 Page 1 of 3


                                                                           FILED IN THE

 1                                                                     U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON


 2                                                               Sep 01, 2020
 3                                                                    SEAN F. MCAVOY, CLERK



 4
 5                       UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
 8 STATE OF WASHINGTON, STATE OF                    No. 1:20-CV-03127-SAB
 9 COLORADO, STATE OF
10 CONNECTICUT, STATE OF ILLINOIS
11 STATE OF MARYLAND, STATE OF                      ORDER SETTING BRIEFING
12 MICHIGAN, STATE OF MINNESOTA,                    SCHEDULE AND HEARING
13 STATE OF NEVADA, STATE OF NEW                    DATE
14 MEXICO, STATE OF OREGON, STATE
15 OF RHODE ISLAND, STATE OF
16 VERMONT, COMMONWEALTH OF
17 VIRGINIA, and STATE OF
18 WISCONSIN,
19        Plaintiffs,
20        v.
21 DONALD J. TRUMP, in his official
22 capacity as President of the United States
23 of America; UNITED STATES OF
24 AMERICA; LOUIS DEJOY, in his official
25 capacity as Postmaster General; UNITED
26 STATES POSTAL SERVICE,
27        Defendants.
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 1        On August 31, 2020, the parties submitted a Stipulated Scheduling Order
 2 Regarding Discovery Responses and the Plaintiff States’ Anticipated Motion for
 3 Preliminary Junction, ECF No. 45.
 4        The parties ask the Court to approve the proposed schedule and permit the
 5 parties to file additional pages. Good cause exists to grant the parties’ request.
 6        Accordingly, IT IS HEREBY ORDERED:
 7        1.     The Court accepts and approves the parties’ Stipulated Scheduling
 8 Order, ECF No. 45.
 9        2.     The Court sets the following Schedule:
10               a. Defendants USPS and Louis DeJoy shall serve their responses to
11               Plaintiff States’ First Interrogatories and Requests for Production of
12               Documents on or before Sunday, September 6, 2020;
13               b. Plaintiff States shall file their Motion for Preliminary Injunction on
14               or before Wednesday, September 9, 2020;
15               c. All briefs of amici curiae shall be filed by Friday, September 11,
16               2020;
17               d. Defendants shall file their response to Plaintiff States’ Motion for
18               Preliminary Injunction on or before 9 a.m. PDT on Tuesday,
19               September 15, 2020;
20               e. Plaintiff States may file a reply in support of their Motion for
21               Preliminary Injunction on or before Wednesday, September 16, 2020;
22               f. Plaintiffs’ Motion and Defendants’ Response shall not exceed 60
23               pages. Plaintiffs’ Reply shall not exceed 30 pages; and
24               g. The hearing on Plaintiffs’ Motion for Preliminary Injunction is set
25               for September 17, 2020, at 10:00 a.m., in Yakima, Washington.
26               h. The parties are granted permission to appear by videoconference. If
27               a party intends to appear by videoconference, the party shall notify the
28               Court at least 48 hours in advance of the hearing. Due to the Court’s

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 1             General Orders 20-101-9 limiting public access to the courthouse,
 2             members of the public and press may listen to the proceedings by
 3             using the following conference call line, 888-204-5984, access code:
 4             6790153, five minutes before the scheduled conference time. Non-
 5             parties on the call MUST MUTE YOUR PHONES. Hearing content
 6             provided via videoconference or teleconference dial-in access MUST
 7             NOT be recorded or rebroadcast.
 8       IT IS SO ORDERED. The Clerk of Court is directed to enter this Order
 9 and forward copies to counsel.
10       DATED this 1st day of September 2020.
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                                    Stanley A. Bastian
16                          Chief United States District Judge
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     ORDER SETTING BRIEFING SCHEDULE AND HEARING DATE ~ 3
